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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



UNITED STATES OF AMERICA,                      :     CASE NO.       1:06-cr-00125
                                               :
                      Plaintiff,               :     JUDGE SOLOMON OLIVER, JR.
                                               :
               v.                              :
                                               :     MAGISTRATE JUDGE
ALBARO LOZA-ARANDA,                            :     NANCY A. VECCHIARELLI
                                               :
                      Defendant.               :     REPORT & RECOMMENDATION



       Pursuant to General Order 99-49, this matter has been referred to United States

Magistrate Judge Nancy A. Vecchiarelli for purposes of receiving, on consent of the parties, the

defendant’s offer of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11,

causing a verbatim record of the proceedings to be prepared, referring the matter, if appropriate,

for presentence investigation, and submitting a Magistrate Judge’s Report and Recommendation

stating whether the plea should be accepted and a finding of guilty entered. The following, along

with the transcript or other record of the proceedings submitted herewith, constitutes the

Magistrate Judge’s Report and Recommendation concerning the plea of guilty proffered by the

defendant.

       1.      On January 18, 2007, the defendant, accompanied by counsel, proffered a plea of

               guilty to counts 2 and 3of the superseding indictment. The parties agreed to a

               specific sentence of not less than 36 months and not more than 63 months

               incarceration.
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       2.     Prior to such proffer, the defendant was examined as to his competency, advised

              of the charge and consequences of conviction, informed that the Federal

              Sentencing Guidelines are advisory and the Court must consider them but the

              Court may impose any reasonable sentence authorized by law, notified of his

              rights, advised that he was waiving all his rights except the right to counsel and

              otherwise was provided with the information prescribed in Fed. R. Crim. P. 11.

       3.     The parties and counsel informed the court about the plea agreement between the

              parties; the undersigned was advised that, aside from such agreement as described

              or submitted to the court, no other commitments or promises have been made by

              any party, and no other agreements, written or unwritten, have been made

              between the parties.

       4.     The undersigned questioned the defendant under oath about the knowing,

              intelligent, and voluntary nature of the plea of guilty, and finds that the defendant

              was competent to enter a plea and the plea was offered knowingly, intelligently,

              and voluntarily.

       5.     The parties provided the undersigned with sufficient information about the

              charged offense(s) and the defendant’s conduct to establish a factual basis for the

              plea.

       In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary, and all requirements imposed by the

United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the

undersigned recommends that, if the District Court Judge finds the agreed sentencing range to be


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reasonable, the plea of guilty to counts 2 and 3 of the superseding indictment be accepted, a

finding of guilty be entered by the Court, and a specific sentence of not less than 36 months and

not more than 63 months incarceration be imposed. Further, as the defendant entered the plea

pursuant to Rule 11 (C)(1)(c), the defendant should be allowed to withdraw the plea in the event

the Court does not accept the specific sentencing range.



                                                     s/ Nancy A. Vecchiarelli
                                                     NANCY A. VECCHIARELLI
                                                     UNITED STATES MAGISTRATE JUDGE



DATE: January 18, 2007



                                           NOTICE
       Any objections to this Report and Recommendation must be filed with the Clerk of
Courts within ten (10) days of this notice. Failure to file objections within the specified
time may waive the right to appeal the District Court’s order. see, United States v. Walters,
638 F.2d 947 (6th Cir. 1981). See, also, Thomas v. Arn, 474 U.S. 140 (1985), reh’g denied,
474 U.S. 1111 (1986).




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